Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 1 of 27




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No.



PREFERRED CONTRACTORS INSURANCE COMPANY, RRG, a Montana Limited Liability
Company;

       Plaintiff,

v.

MICHAEL HAMILTON, a Colorado resident;
CAROL BOGGIS, a Colorado resident;
NAB, LLC D/B/A BUILDSMART FORT COLLINS, a Colorado Limited Liability Company;
ANTHONY BAETTI, a Colorado resident; and
COUNTRY MUTUAL INSURANCE COMPANY, an Illinois Corporation;

       Defendants.


                         COMPLAINT FOR DECLARATORY RELIEF


       Plaintiff, Preferred Contractors Insurance Company, RRG, (“PCIC”), by and through its

attorneys, McElroy, Deutsch, Mulvaney & Carpenter, LLP, for its Complaint for Declaratory

Relief against Defendants, states and alleges as follows:

                                   I. NATURE OF ACTION

       1.      Pursuant to 28 U.S.C. §2201(a), §2202, and Fed. R. Civ. P. 57, PCIC seeks a

declaratory judgment that PCIC has no duty to defend or indemnify Defendant NAB, LLC d/b/a

BuildSmart Fort Collins (“NAB”) in the Underlying Action (as defined herein) under certain

Commercial General Liability policies issued by PCIC, as further defined and set forth in the

Policy Section herein.
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 2 of 27




                                          II. PARTIES

       2.      Plaintiff PCIC is an insurance company domiciled in Montana, with a principal

place of business located at 27 North 27th Street, Suite 1900, Billings, Montana, 59101. PCIC

issued certain commercial general liability insurance policies to Defendant NAB, which are the

subject of this Complaint.

       3.      Defendant Michael Hamilton is a Colorado resident.

       4.      Defendant Carol Boggis is a Colorado resident.

       5.      Defendant NAB is a Colorado limited liability company with its principal place of

business located at 1414 Catalpa Court, Fort Collins, Colorado, 80521.

       6.      Defendant Anthony Baetti is a principal of NAB, and is a Colorado resident.

       7.      Defendant Country Mutual Insurance Company (“Country Mutual”) is an

insurance company and Illinois corporation who issues commercial general liability policies in

the State of Colorado, and with a principal place of business located at 1701 Towanda Avenue,

P.O. Box 2100, Bloomington, Illinois, 61702-2100.

                              III. JURISDICTION AND VENUE

       8.      The Court has jurisdiction over this matter under 28 U.S.C. § 1332. There is

complete diversity of citizenship between Plaintiff and Defendants in this action and the amount

in controversy exceeds $75,000, exclusive of interest and costs. Plaintiff is a citizen of the State

of Montana, and all Defendants are residents of the State of Colorado except for Country Mutual,

who is a citizen of Illinois. The amount in controversy exceeds $75,000, exclusive of interest

and costs, because the cost to repair the alleged defective construction to the Home in the

Underlying Action (as defined herein) is $958,140.60.

                                                 2
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 3 of 27




        9.     Pursuant to 28 U.S.C. § 1391(a), venue is proper in this Court.

                               IV. GENERAL ALLEGATIONS

        10.    In or around 2014, NAB and Defendants in this action, Michael Hamilton and

Carol Boggis (collectively “Owners”), entered into a contract for the construction of a single-

family home located at 3016 Center Ridge Drive in Berthoud, Colorado (“Home”).

        11.    NAB served as the general contractor, and utilized subcontractors for all aspects

of the work except for interior trim.       NAB did not have written subcontracts with its

subcontractors.

        12.    The Home was completed and a Certificate of Occupancy issued on January 30,

2015.

        13.    In June of 2015, approximately six months after the Certificate of Occupancy was

issued, Owners contacted NAB and reported that the Home was suffering from hundreds of

cracks in the drywall, stucco and other components of the Home. Upon information and belief,

project engineers Gebau, Inc. (“Gebau”) and CDS Engineering Corporation (“CDS”) were also

placed on notice of the cracking.

        14.    After investigation, CDS determined that the foundation of the Home was moving

due to soils-related issues, and NAB attempted cosmetic repairs during late 2015 and into early

2016. The repairs were unsuccessful.

        15.    On April 19, 2018, Owners directed a Notice of Claim pursuant to C.R.S. § 13-

20-803.5, et seq. (“NOC”), to NAB. See NOC, attached as Exhibit 1. The requisite repair

period pursuant to the NOC statute expired without resolution of the Owners’ claims.



                                                3
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 4 of 27




       16.     Subsequently, on November 30, 2018, Owners filed their Complaint in an action

styled Michael Hamilton and Carol Boggis v. NAB, LLC d/b/a Build Smart Fort Collins, et al.,

Larimer County District Court, Case No. 2018CV31117 (“Underlying Action” throughout). See

Complaint, attached as Exhibit 2.        The Complaint names NAB, Mr. Baetti, Gebau, Paul

Gallagher, P.E., CDS and Kevin F. Becker, P.E., as Defendants.

       17.     Pursuant to the Complaint, the Home suffers from various defects, including:

       [E]xcessive foundation and slab movement caused by uplift of the highly
       expansive soils under the Home, which has caused significant resultant property
       damage, including, but not limited to racked doors and windows, stucco cracks,
       cracked foundation walls, excessive drywall cracks, uneven interior floors, and
       heaved flatwork.

Complaint, ¶ 22.

       18.     PCIC is currently providing a defense to NAB and Mr. Baetti in the Underlying

Action, subject to a reservation of rights.

       19.     Country Mutual also insures NAB under Policy No. AB9004559 for the term

October 9, 2014 to March 15, 2015, when the policy was canceled (“Country Mutual Policy”).

Country Mutual is also defending NAB and Mr. Baetti in the Underlying Action under the

Country Mutual Policy.

                                       V. PCIC POLICIES

       20.     PCIC issued to NAB commercial general liability policy numbers PC97717,

PC97717-02, PC207816 and PC247215 for the respective terms of October 14, 2014 to October

14, 2015 (“14-15 Policy”), October 14, 2015 to October 14, 2016 (“15-16 Policy”), October 14,

2016 to October 14, 2017 (“16-17 Policy”) and October 14, 2017 to October 14, 2018 (“17-18

Policy”) (sometimes collectively “PCIC Policies”). See 14-15 Policy, attached as Exhibit 3; 15-

                                                4
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 5 of 27




16 Policy, attached as Exhibit 4; 16-17 Policy, attached as Exhibit 5; 17-18 Policy, attached as

Exhibit 6. The PCIC Policies each provide liability limits of $1 million per occurrence, a $1

million products-completed operations aggregate limit, and a $2 million general aggregate limit.

Relevant here, the PCIC Policies includes Endorsement No. 18, the Subcontractor Condition.

       21.     The Insuring Agreements of the 15-16, 16-17 and 17-18 Policies are substantively

 similar and read, in relevant part:


SECTION I - COVERAGES
COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1.     Insuring Agreement

       a.      We will pay those sums that the insured becomes legally obligated to pay as "damages"
               because of "bodily injury" or "property damage" to which this insurance applies. We will
               have the right and duty to defend the insured against any "suit" seeking "damages" to
               which this insurance applies. However, we will have no duty to defend any insured
               against any "suit" seeking damages for "bodily injury" or "property damage" to which
               this insurance does not apply. We may, at our discretion, investigate any "occurrence"
               and settle any claim or "suit" that may result. But:

               (1)     The amount we will pay for "damages" is limited as described in Section III -
                       Limits of Insurance; and

               (2)     Our right and duty to defend ends when we have used up the applicable limit of
                       insurance in the payment of "damages," under Coverage A or B or medical
                       expenses under Coverage C, "claim expenses," or both.

               (3)     It is expressly understood and agreed that "claim expenses" are included within
                       and are not in addition to the Limits of Liability set forth in the Declarations.

       b.      This insurance applies to "bodily injury" and "property damage" only if:

               (1)     The “bodily injury” or “property damage” is caused by an “occurrence” that first
                       takes place or begins during the “policy period”. “You” and “we” agree that the
                       determination of when an occurrence first occurs or begins during the policy
                       period shall be made based
                       on the date that the conduct, act or omission, process, condition or circumstance
                       alleged to be the cause of the “bodily injury” or “property damage” first began,
                       was first
                       committed, or was first set in motion;

                                                   5
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 6 of 27




                 (2)     The “bodily injury” or “property damage” first occurs or begins during the
                         “policy period.” “Bodily injury” or “property damage” first occurs or begins on
                         the date when the “bodily injury” or “property damage” appears and is identified;

                 (3)     Prior to the "policy period," no insured listed under Paragraph 1. of Section II -
                         Who Is An Insured and no "employee" authorized by you to give or receive
                         notice of an "occurrence" or claim, knew that the "occurrence," "bodily injury" or
                         "property damage" had occurred, in whole or in part. If such a listed insured or
                         authorized "employee" knew, prior to the "policy period," that the "occurrence,"
                         "bodily injury" or "property damage" occurred, then any continuation, change or
                         resumption of such "bodily injury" or "property damage" during or after the
                         "policy period" will be deemed to have been known prior to the "policy period";
                         and

                (4)      All other insurance available to the insured(s) has been exhausted, regardless of any
                         other insurance condition or clause in such insurance and regardless of whether such
                                  other
                         insurance is stated to be primary, excess or contingent, unless such other insurance
                         specifically is written to apply in excess of this particular policy.

       22.       Common Policy Exclusion h., the Prior Knowledge Exclusion, in the 15-16, 16-

17 and 17-18 Policies excludes coverage for:

       “Bodily injury,” “property damage” or “personal and advertising injury” arising
       out of, or in any way related to any facts, incidents or circumstances of which the
       insured had knowledge prior to the inception date of this policy and which might
       reasonably be expected to result in a claim or “suit” being made against the
       insured.

       23.       Coverage A. Exclusion x., Prior Completed Work in the 15-16, 16-17 and 17-18

Policies exclude coverage for:

             x. Prior Completed Work
                “Bodily injury” or “property damage” arising out of, resulting from, caused by,
                contributed to, or in any way related, in whole or in part, to “your work” that was
                completed by the insured prior to the inception date of the policy set forth in the
                Declarations.

                 “Your work” shall be deemed completed at the earliest of the following times:
                 (1) When all of the work on that particular part of “your work” where “bodily
                     injury” or “property damage” arises has been completed;
                 (2) When all of the work called for in your contract, invoice or proposal has been
                     completed;
                 (3) When all of the work to be done at the site has been completed if your
                     contract, invoice or proposal calls for work at more than one job site.
                                                     6
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 7 of 27




            (4) When that part of “your work” done at a job site has been put to its intended
                use by any person or organization including another contractor or
                subcontractor working on the same project.
            (5) When “your work” at a job site or project ends because your contract was
                terminated or you were directed to cease “your work” by anyone for whom
                “your work” was being performed.

            Work that may need service, maintenance, correction, repair or replacement, but
            which is otherwise complete, will be deemed complete.

      24.   The Insuring Agreement of the 14-15 Policy reads as follows:

SECTION I - COVERAGES
COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1.    Insuring Agreement

      a.    We will pay those sums that the insured becomes legally obligated to pay as "damages"
            because of "bodily injury" or "property damage" to which this insurance applies. We will
            have the right and duty to defend the insured against any "suit" seeking "damages" to
            which this insurance applies. However, we will have no duty to defend any insured
            against any "suit" seeking damages for "bodily injury" or "property damage" to which
            this insurance does not apply. We may, at our discretion, investigate any "occurrence"
            and settle any claim or "suit" that may result. But:

            (1)     The amount we will pay for "damages" is limited as described in Section III -
                    Limits of Insurance; and

            (2)     Our right and duty to defend ends when we have used up the applicable limit of
                    insurance in the payment of "damages," under Coverage A or B or medical
                    expenses under Coverage C, "claim expenses," or both.

            (3)     It is expressly understood and agreed that "claim expenses" are included within
                    and are not in addition to the Limits of Liability set forth in the Declarations.

      b.    This insurance applies to "bodily injury" and "property damage" only if:

            (1)     The “bodily injury” or “property damage” is caused by an “occurrence” that first
                    takes place or begins during the “policy period”. “You” and “we” agree that the
                    determination of when an occurrence first occurs or begins during the policy
                    period shall be made based on the date that the conduct, act or omission, process,
                    condition or circumstance alleged to be the cause of the “bodily injury” or
                    “property damage” first began, was first committed, or was first set in motion;

            (2)     The “bodily injury” or “property damage” first occurs or begins during the
                    “policy period.” “Bodily injury” or “property damage” first occurs or begins on


                                                7
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 8 of 27




                           the date when the “bodily injury” or “property damage” appears and is identified
                           by the insured or another person;

                   (3)     Prior to the "policy period," no insured listed under Paragraph 1. of Section II -
                           Who Is An Insured and no "employee" authorized by you to give or receive
                           notice of an "occurrence" or claim, knew that the "occurrence," "bodily injury" or
                           "property damage" had occurred, in whole or in part. If such a listed insured or
                           authorized "employee" knew, prior to the "policy period," that the "occurrence,"
                           "bodily injury" or "property damage" occurred, then any continuation, change or
                           resumption of such "bodily injury" or "property damage" during or after the
                           "policy period" will be deemed to have been known prior to the "policy period";
                           and

             (4)           All other insurance available to the insured(s) has been exhausted, regardless of any
                           other insurance condition or clause in such insurance and regardless of whether such
                           other insurance is stated to be primary, excess or contingent, unless such other
                           insurance specifically is written to apply in excess of this particular policy.

       25.         In order to trigger the PCIC Policies’ Insuring Agreements, there must be

allegations of “property damage” that first took place during the respective Policy periods.

“Property damage” is defined in the PCIC Policies to mean:

       a.          physical injury to tangible property that first occurs or begins during the
                   “policy period”; or
       b.          loss of use of tangible property that is not physically injured. All such loss
                   of use shall be deemed to occur at the time of the “occurrence” that caused
                   it.

       26.         The PCIC Policies define an “occurrence” as “an accident, including continuous

or repeated exposure to substantially the same general harmful conditions.”

       27.         Relevant here, the PCIC Policies include the following Coverage A. Exclusions,

which read in pertinent part:

2.     Exclusions
       This insurance does not apply to:

       g.          Damage to Property
                   “Property damage” to:
                    (5)    That particular part of real property on which you or any contractors or
                           subcontractors working directly or indirectly on your behalf are performing
                           operations, if the “property damage” arises out of those operations; or

                                                       8
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 9 of 27




           (6)       That particular part of any property that must be restored, repaired or replaced
                     because “your work” was incorrectly performed on it.

           Paragraphs (1), (3) and (4) of this exclusion do not apply to “property damage” (other
           than damage by fire) to premises, including the contents of such premises, rented to you
           for a period of 7 or fewer consecutive days. Paragraph (2) of this exclusion does not
           apply if the premises are “your work” and were never occupied, rented or held for rental
           by you. Paragraph (6) of this exclusion does not apply to “property damage” included in
           the “products completed operations hazard”.

      h.   Damage To Your Product
           “Property damage” to “your product” arising out of it or any part of it.

      i.   Damage To Your Work
           “Property damage” to “your work” arising out of it or any part of it and included in the
           “products completed operations hazard”.

           This exclusion does not apply if the damaged work or the work out of which the damage
           arises was performed on your behalf by a subcontractor.

           *     *   *

      m.   Subsidence of Land
           “Bodily injury” or “property damage” arising out of, resulting from, caused by,
           contributed to by, or in any way related, in whole or in part, the subsidence of land or
           soil, including, but not limited to, earthquake, landslide, mine subsidence, mud flow, or
           sinking, rising, settling, cracking, shifting, expansion or contraction of the earth or soil, or
           any other movement of earth. Any such subsidence of land or soil is excluded regardless
           of any other cause or event (natural or man-made) contributing or concurring, in any
           sequence causing loss.

           *     *   *

      o.   Deleterious Substances
           “Bodily injury” or “property damage” arising out of, resulting from, caused by,
           contributed to by, or in any way related to, in whole or in part, the discharge, dispersal,
           release, escape, disposal, existence, presence, handling, ingestion, inhalation, installation,
           sale, distribution, encapsulation, storage, transportation, use or removal of, or exposure to
           any “deleterious substance.”

                     (1)      For purposes of this exclusion, “deleterious substance” shall be defined
                         to include:
                     (i)      Mold. Mold means any permanent or transient fungus, mold, mildew or
                              mycotoxin, or any of the spores, scents or by-products resulting
                              therefrom that
                              exist, emanate from or move anywhere indoors or outdoors, regardless of
                              whether they are proved to cause disease, injury or damage;
           ***
                                                 9
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 10 of 27




            (2)     This exclusion applies:
                    (i)     Equally to any “bodily injury” or “property damage” arising out of
                            exposure to any “deleterious substance,” regardless of the name by
                            which it is manufactured, sold, distributed or known;
                    (ii)    Equally to any “bodily injury” or “property damage” involving air, land,
                            structure, building, outdoors, indoors, confined or enclosed space, or the
                            air within any of them, watercourse or water, including surface and
                            underground water;
                    (iii)   Regardless of whether any alleged defects or claimed negligence in
                            design, construction or materials, or any other conduct or misconduct,
                            may have or is claimed to have precipitated, caused in whole or in part,
                            or acted jointly, concurrently or in any sequence with any “deleterious
                            substance” in any form whatsoever in causing or contributing to “bodily
                            injury” or “property damage”;

            (3)     To any loss, cost or expense arising out of any:
                    (i)      Request, demand, order or requirement that any insured or others test for,
                             monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any
                             way respond to or assess the effects of any “deleterious substances” in
                             any form whatsoever; or
                    (ii)     Claim or “suit” seeking, involving or arising from any testing for,
                             monitoring, cleaning up, removing, containing, treating, detoxifying or
                             neutralizing, or in any way responding to, or assessing the effects of any
                             “deleterious substances” in any form whatsoever.
            (4)     Regardless of whether coverage is also excluded under Section II Common
                    Policy Exclusions, Paragraph (b) Pollution, or any other provision or exclusion of
                    the policy.

                    *   *   *

      p.    Professional Services
            Any claim for “bodily injury” or “property damage” arising out of, resulting from, caused
            by, contributed to, or in any way related to, in whole or in part, the performance of or
            failure to perform professional services of an architect, engineer, surveyor or other
            similar professional whether employed, hired or contracted to perform work by any
            insured or performed by any insured or anyone acting on any insured’s behalf.

            * * *
      aj.   Independent Contractors/Subcontractors
            “Bodily injury” or “property damage” arising out of, resulting from, caused by,
            contributed to or in any way related, in whole or in part, to the acts or omissions of any
            independent contractor(s) or subcontractor(s) whether or not hired by the insured.

            This exclusion includes but is not limited to any acts or omissions of any insured in the
            hiring, retention, training, instruction or supervision of any independent contractor(s) or
            subcontractor(s).

                                                10
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 11 of 27




               It is a condition of this exclusion, that any claim for “bodily injury” or “property damage”
               arising out of, resulting from, caused by, contributed to or is any way related, in whole or
               in part, by work or operations performed by the Named Insured or any insured, to fix,
               repair, or correct work initially performed by an independent contractor or subcontractor,
               shall have a maximum occurrence limit of $25,000.

        28.    The PCIC Policies contain the following Common Policy Exclusions, which

 exclude coverage for:

        k.     Contractual Liability
               “Bodily injury,” “property damage” or “personal or advertising injury” for which the
               insured is obligated to pay damages by reason of the assumption of liability in a contract
               or agreement.

        l.     Attorney Fees and Expert Fees of Others
               Any claim, “suit”, demand, request, or award against any insured, comprised, in whole or
               in part, of any attorney fees and costs, expert fees and costs, sanctions or any other cost or
               expense incurred by any other party to any claim or “suit”, including any other insured
               under this policy. This exclusion applies regardless of whether any of the expenses or
               costs described above are/were awarded in a suit as damages or costs.
               This exclusion does not apply to our obligations under an insured contract.

        29.    The PCIC Policies includes the following Conditions:

        4.     Other Insurance
               a. This insurance shall be in excess of any other valid and collectible insurance
               available to the insured whether such other insurance is stated to be primary,
               contributory, excess, contingent or otherwise, unless such other insurance is written
               specifically to apply in excess of this particular policy. This insurance will apply only
               after all other insurance available to the insured has been exhausted regardless of any
               other insurance clause or condition of such insurance. If there is no coverage for a claim
               or “suit” for any insured under other insurance, there is no coverage under this policy for
               any insured. If there is other insurance available to any insured, “we” will have no duty
               to defend any insured.

               b. When any insured is added as an additional insured under any other policy, this
               insurance shall apply to that insured as excess insurance only above such other insurance
               in accordance with Paragraph 1, above.

               c. When this insurance is excess over any other insurance, we will have no duty to
               defend the insured against any claim or “suit”. This Policy affords a defense to an
               insured only when a loss or claim seeks damages to which no underlying insurance or
               other insurance for an insured applies.

               *   *     *


                                                    11
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 12 of 27




         21.     Right of Reimbursement of Defense Costs
                 We have the right of reimbursement of all defense costs we incur in defending any
                 insured in a “suit” for which there is no coverage under this policy, regardless of whether
                 the “suit” included allegations or damages that may have been potentially covered at the
                 time of tender to us or not. This right of reimbursement extends to all defense costs paid
                 by us for defense of causes of action and/or damages for which there is no coverage
                 under this policy. Our right of reimbursement of such defense costs shall include
                 prejudgment interest incurred by us from the date the defense costs were paid by us.

         22.     Right of Reimbursement of Settlement Payments
                 We have the right of reimbursement of all settlement payments made by us in settlement
                 of claims or “suits” for which there is no coverage under this policy. This right of
                 reimbursement extends to all settlement payments paid by us as to causes of action and/or
                 damages for which there is no coverage under this policy. Our right of reimbursement of
                 such settlement costs shall include prejudgment interest incurred by us from the date the
                 settlement costs were paid by us.


         30.     The PCIC Policies all include a version of Endorsement No. 18 – Subcontractor

 Condition, which reads as follows in the 14-15 Policy:

 This endorsement modifies coverage provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART

 Coverage only applies to liability arising out of work performed for you by your “adequately insured”
 contractors or subcontractors and only if the contractors or subcontractors:

 (1)     Provide hold harmless agreements indemnifying against all losses for the work performed by or
         on behalf of the contractors or subcontractors; and
 (2)     Name you as an Additional Insured on all contractors or subcontractors Commercial General
         Liability policies; and
 (3)     Has coverage that is equal to or greater than provided by this Policy, with limits of at least
         $1,000,000.00 (One Million Dollars) per occurrence.

 You will obtain and maintain Certificates of Insurance from all contractors or subcontractors you hire
 providing evidence of insurance, including Commercial General Liability, Workers’ Compensation and
 Employer’s Liability.

 The following exclusion is added to Paragraph 2. Exclusions of SECTION 1 – COVERAGE A –
 BODILY INJURY AND PROPERTY DAMAGE LIABILITY and COVERAGE B – PERSONAL AND
 ADVERTISING INJURY LIABILITY:

         We will not extend any defense and/or coverage under this policy for work performed by those
         contractors or subcontractors you hire who are not “adequately insured”.

 The following definition is added to the DEFINITIONS Section:
                                                     12
 Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 13 of 27




           “Adequately insured” means that the contractors or subcontractors that perform operations for
           you maintain Commercial General Liability insurance in force with limits of insurance for their
           operations that are equal to or greater than the limits of insurance shown in the Declarations of
           this policy, including operations performed for them by others and that policies of such
           contractors and subcontractors do not exclude the work being performed for you. In the event that
           your contractors or subcontractors have a policy that does not cover them for the work they are
           doing for you, your policy will not cover them as well.

Except as set forth above, all of the terms, conditions and exclusions of this policy apply and remain in effect.

           31.      Exclusion ae. on the PCIC Policies excludes coverage for:

           ae.      Material Misrepresentation
                    This policy does not apply to any claim reported under this policy that would not
                    otherwise be covered, but for a “material misrepresentation” in the application for
                    insurance by the insured. This exclusion shall apply if the concealed or misrepresented
                    information would have had an effect on the terms, conditions, exclusions, endorsements,
                    premium, overall risk, or issuance of the policy, had it been known to the Risk Retention
                    Group at the time the insured initially applies for or renewed this policy.

                    Materiality is to be determined not by the event, but solely by the probable and
                    reasonable influence of the facts upon the party to whom the communication is due, in
                    forming his estimate of the disadvantages of the proposed contract, or in making his
                    inquiries.

           32.      Similarly, Condition 6. in the PCIC Policies reads as follows:

           6.       Representations and Warranties
                    a. The statements in the application are your representations and warranties, that they
                    shall be deemed material and that this policy is issued in reliance upon the truth of such
                    representations and warranties and that this policy embodies all agreements existing
                    between you and the Company, or any of its agents, relating to this insurance.

                    b. The application made to us for insurance, including all statements, representations and
                    warranties contained therein, is incorporated herein and made part of the policy.

                    c. If, prior to the inception date, any insured has knowledge of any fact, circumstance or
                    situation reasonably indicating the probability of a claim or action for which coverage
                    may be afforded by this insurance, any claim or “suit” subsequently emanating therefrom
                    shall be excluded from coverage under this policy.

           33.      The PCIC Policies define “your work” as:

           “Your work”:
                  a.        means:


                                                        13
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 14 of 27




                     (1)      work or operations performed by you or on your behalf; and
                     (2)     materials, parts or equipment furnished in connection with such work or
                             operations.

             a.      includes:

                     (1)     warranties or representations made at any time with respect to the fitness,
                             quality, durability, performance or use of “your work”, and
                     (2)      the providing of or failure to provide warnings or instructions.

      34.    The PCIC Policies define “products-completed operations hazard” as:

      “Products-completed operations hazard”

             a.       includes all “bodily injury” and “property damage” occurring away from
                      premises you own or rent and arising out of “your product” or “your work”
                      except:

                     (1)      products that are still in your physical possession; or
                     (2)     work that has not yet been completed or abandoned. However, “your
                             work” will be deemed completed at the earliest of the following times:
                             (i)     when all of the work called for in your contract has been
                                     completed;.
                             (ii)     when all of the work to be done at the job site has been
                                     completed if your contract calls for work at more than one job
                                     site;
                             (iii)   when that part of the work done at a job site has been put to its
                                     intended use by any person or organization other than another
                                     contractor or subcontractor working on the same project.
                     Work that may need service, maintenance, correction, repair or replacement, but
                     which is otherwise complete, will be treated as completed.

             a.   Does not include “bodily injury” or “property damage” arising out of:

                     (1)     the transportation of property, unless the injury or damage arises out of a
                             condition in or on a vehicle not owned or operated by you, and that
                             condition was created by the “loading or unloading” of that vehicle by
                             any insured;
                     (2)     the existence of tools, uninstalled equipment or abandoned or used
                             materials; or
                     (3)     products or operations for which the classification, listed in the
                             Declarations or in a policy schedule, states that products-completed
                             operations are subject to the General Aggregate Limit.

                                 VI. CLAIMS FOR RELIEF

                     DECLARATORY JUDGMENT – COUNT ONE
                                                14
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 15 of 27




             (Insuring Agreements / Common Policy Exclusion h. – Prior Knowledge)

        35.      PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        36.      The PCIC Policies only provide coverage for damages because of “property

 damage” that first occurs within the terms of each respective Policy and is caused by an

 “occurrence.”

        37.      The Complaint in the Underlying Action includes numerous allegations of non-

 compliant and/or improper work at the Home. Such allegations do not include any “physical

 injury to tangible property,” and such allegations are not “property damage” under the PCIC

 Policies.

        38.      In June of 2015, approximately six months after the Certificate of Occupancy was

 issued, Plaintiffs contacted NAB and reported that the Home was suffering from hundreds of

 cracks in the drywall, stucco and other components of the Home.

        39.      The Insuring Agreements of the PCIC Policies require that the alleged “property

 damage” first take place during the terms of the PCIC Policies, and that such alleged “property

 damage” is deemed to first occur when such damages are identified by anyone. As the alleged

 damages were identified and began prior to the inception of the 15-16, 16-17 and 17-18 PCIC

 Policies (which incepted on October 24, 2015), the Insuring Agreements of the 15-16, 16-17 and

 17-18 PCIC Policies are not triggered, and there is no coverage available for NAB under the 15-

 16, 16-17 and 17-18 PCIC Policies.

        40.      Similarly, the 15-16, 16-17 and 17-18 PCIC Policies all include Common Policy

 Exclusion h. – Prior Knowledge, which excludes coverage all coverage for “property damage”

                                                15
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 16 of 27




 for which the insured knew of prior to the inception of the policy at issue. Again, NAB knew of

 the alleged damages at the Home in June of 2015.

        41.     Pursuant to the Insuring Agreements of the 15-16, 16-17 and 17-18 PCIC Policies

 and Common Policy Exclusion h. – Prior Knowledge, PCIC is entitled to a declaration that PCIC

 has no duty to defend and/or indemnify NAB under the 15-16, 16-17 and 17-18 PCIC Policies

 because any “property damage”, if any, first occurred prior to the 15-16, 16-17 and 17-18 Policy

 periods and prior to these Policy periods NAB knew that the alleged “property damage” had

 occurred.

        42.     Pursuant to the Insuring Agreements of all PCIC Policies, PCIC is entitled to a

 declaration that PCIC has no duty to indemnify NAB under the PCIC Policies for any damages

 that are not because of “property damage” caused by an “occurrence.”

                        DECLARATORY JUDGMENT – COUNT TWO
                       (Coverage A. Exclusion x. – Prior Completed Work)

        43.      PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        44.     The 15-16, 16-17 and 17-18 PCIC Policies include Coverage A. Exclusion x. –

 Prior Completed Work, which excludes coverage for “property damage” arising out of, resulting

 from, caused by, contributed to, or in any way related, in whole or in part, to NAB’s work that

 was completed by NAB prior to the inception date of any of the PCIC Policies.

        45.     Here, NAB’s work was finished in January of 2015, as evidenced by the

 Certificate of Occupancy issued for the Home on January 30, 2015.

        46.     Pursuant to Coverage A. Exclusion x. – Prior Completed Work, PCIC is entitled

 to a declaration that PCIC has no duty to defend or indemnify NAB under the 15-16, 16-17 and
                                                16
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 17 of 27




 17-18 PCIC Policies because NAB’s work at the Home was finished prior to the inception of

 these PCIC Policies.

                        DECLARATORY JUDGMENT – COUNT THREE
                           (Coverage A. Exclusion m. – Subsidence)

        47.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        48.     All PCIC Policies include Coverage A. Exclusion m. – Subsidence, which

 excludes all coverage under the PCIC Policies for any and all alleged “property damage” as a

 result of any soils-related movement.

        49.     Here, the Complaint in the Underlying Action is rife with allegations that all

 damages are related to soils movement, to wit:

        Various elements of the Home suffer from defects, deficiencies, or damage,
        including, but not limited to, the following excessive foundation and slab
        movement caused by the uplift of highly expansive soils under the Home, which
        has caused significant resultant property damage, including but not limited to
        racked doors and windows, stucco cracks, cracked foundation walls, excessive
        drywall cracks, uneven interior floors, and heaved flatwork.

 Complaint, ¶22.

        50.     Further, expert reporting in the Underlying Action indicates that all alleged

 damages to the Home are the result of soils movement.

        51.     Pursuant to Coverage A. Exclusion m. – Subsidence, PCIC is entitled to a

 declaration that PCIC has no duty to defend or indemnify NAB under the PCIC Policies because

 the alleged damages to the Home relate to soils movement.

                        DECLARATORY JUDGMENT – COUNT FOUR
                        (Endorsement No. 18 – Subcontractor Condition)


                                                  17
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 18 of 27




        52.      PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        53.      The PCIC Policies include Endorsement No. 18 – Subcontractor Condition.

 Pursuant to this clear condition precedent to coverage for any liability arising out of work

 performed by any subcontractor of NAB, NAB was required to obtain written subcontracts

 which included indemnification agreements in favor of NAB, additional insured coverage (for

 NAB) and adequate policy limits from each subcontractor that performed work on the Home on

 behalf of NAB.

        54.      Upon information and belief, NAB utilized subcontractors for all work on the

 Home except for interior trim, which NAB performed itself.

        55.      NAB did not have written subcontract agreements with any subcontractor, and

 thus did not meet the condition precedent to coverage under the PCIC Policies pursuant to

 Endorsement No. 18 – Subcontractor Condition.

        56.      PCIC is entitled to a declaration that it has no duty to defend and/or indemnify

 NAB under the PCIC Policies as to any and all work performed by subcontractors because the

 clear conditions precedent to coverage under Endorsement No. 18 – Subcontractor Condition

 were not met.

                    DECLARATORY JUDGMENT – COUNT FIVE
 (Coverage A. Exclusion ae. – Material Misrepresentation / Condition: Representations and
                                       Warranties)

        57.      PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.



                                                18
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 19 of 27




         58.    Pursuant to the terms and provisions in Coverage A. Exclusion ae. – the Material

 Misrepresentation Exclusion and the Representations and Warranties Condition, any

 misinformation on the application of insurance by NAB to PCIC impacts and/or negates

 coverage for NAB regarding the Underlying Action.

         59.    In its application for insurance, which is incorporated by reference into the PCIC

 Policies, NAB specifically stated that NAB has written subcontracts with each and every

 subcontractor, and that such subcontracts include indemnity provisions in favor of NAB and

 require the subcontractors to name NAB as an additional insured on all subcontractors’ liability

 policies.

         60.    NAB did not obtain any written subcontracts with its subcontractors relative to the

 Home, nor did NAB obtain the required indemnity and additional insured provisions in NAB’s

 favor from NAB’s subcontractors.

         61.    Accordingly and pursuant to the terms and provisions in the Material

 Misrepresentation Exclusion and the Representations and Warranties Condition, PCIC is entitled

 to a declaration that PCIC has no duty to defend or indemnify NAB under the PCIC Policies as a

 result of such misrepresentations.


                         DECLARATORY JUDGMENT – COUNT SIX
                                  (Other Insurance)

         62.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.




                                                19
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 20 of 27




        63.       The PCIC Policies include Condition 4., Other Insurance, which states that the

 PCIC Policies are excess to any and all available other insurance to NAB, including the Country

 Mutual Policy.

        64.       Similarly, the Insuring Agreements of the PCIC Policies state that the coverage

 available under the PCIC Policies, if any, only applies after all other insurance available to NAB

 has been exhausted.

        65.       Here, Country Mutual is also providing a defense to NAB under the Country

 Mutual Policy, and thus other insurance is available to NAB (other than under the PCIC

 Policies).

        66.       Accordingly, PCIC is entitled to a declaration that the PCIC Policies provide

 excess only coverage to the coverage provided to NAB by Country Mutual under the Country

 Mutual Policy.

                       DECLARATORY JUDGMENT – COUNT SEVEN
                  (Coverage A. Exclusions g.(5) and g.(6) – Damage to Property)

        67.        PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        68.       The PCIC Policies include Coverage A. Exclusions g.(5) and g.(6) – Damage to

 Property, set forth above, which exclude any damages for “property damage” that occurs during

 the course of construction, prior to completion of the Home.

        69.       The Complaint in the Underlying Action is silent as to the timing of the alleged

 damages with regard to when NAB and/or its subcontractors were working on the Home,

 although upon information and belief some of the alleged damages may have occurred during the

 course of construction.
                                                 20
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 21 of 27




        70.     Pursuant to Coverage A. Exclusions g.(5) and g.(6) – Damage to Property on the

 PCIC Policies, PCIC is entitled to a declaration that these exclusions bar coverage for any

 damages assessed against NAB for “property damage” because some or all such “property

 damage” occurred during the course of construction.

                       DECLARATORY JUDGMENT – COUNT EIGHT
                       (Coverage A. Exclusion i. – Damage to Your Work)

        71.      PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        72.     The Policies include Coverage A. Exclusion i. – Damage to Your Work. This

 exclusion excludes coverage for “property damage” to completed operations that is part of or

 arises out of NAB’s own work.

        73.     Here, PCIC has been informed that NAB self-performed certain aspects of the

 work at the Home, including but not limited to all interior trim.

        74.     Pursuant to Coverage A. Exclusions i. – Damage to Your Work, PCIC is entitled

 to a declaration that to the extent any damages are assessed against NAB for “property damage”

 relative to the work of NAB itself, such damages are not covered under the PCIC Policies.

                        DECLARATORY JUDGMENT – COUNT NINE
                       (Coverage A. Exclusion o. – Deleterious Substance)

        75.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        76.     The PCIC Policies include Coverage A. Exclusion o. – Deleterious Substance,

 which excludes coverage for any “property damage” related to mold (among other things).



                                                 21
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 22 of 27




        77.       Here, the Complaint and other available information/reporting includes numerous

 allegations of alleged cracking and movement of components of the Home, which may have led

 to water intrusion and the growth of mold or other “deleterious substance” as defined in the

 PCIC Policies.

        78.       Pursuant to the Coverage A. Exclusion o. – Deleterious Substance, PCIC is

 entitled to a declaration that any damages awarded against NAB for damages related to mold are

 excluded under the PCIC Policies.

                         DECLARATORY JUDGMENT – COUNT TEN
                        (Coverage A. Exclusion p. – Professional Services)

        79.       PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        80.       The PCIC Policies include Coverage A. Exclusion p. – Professional Services,

 which excludes coverage for and claim, for:

        “[P]roperty damage” arising out of, resulting from, caused by, contributed to, or
        in any way related to, in whole or in part, the performance of or failure to perform
        professional services of an architect, engineer, surveyor or other similar
        professional whether employed, hired or contracted to perform work by any
        insured or performed by any insured or anyone acting on any insured’s behalf.

        81.       Here, both the structural and geotechnical engineers for the Home, Gebau and

 CDS, are defendants in the Underlying Action, as both are alleged to have performed negligent

 work with regard to engineering the Home’s foundation on soils prone to movement.

        82.       Thus, to the extent NAB is held liable for the work of either Gebau or CDS, PCIC

 is entitled to a declaration that Coverage A. Exclusion p. – Professional Services, excludes

 coverage for NAB under the PCIC Policies.

                       DECLARATORY JUDGMENT – COUNT ELEVEN
                                       22
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 23 of 27




                          (Common Exclusion k. – Contractual Liability)

        83.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        84.     The PCIC Policies include Common Exclusion k. – Contractual Liability, which

 excludes coverage for NAB where NAB is obligated to pay damages to a third-party by way of

 assumption of liability in such a contract.

        85.     The Complaint in the Underlying Action alleges a cause of action for Breach of

 Contract against NAB.

        86.     Pursuant to Contractual Liability exclusion, PCIC is entitled to a declaration that

 any damages awarded pursuant to a breach of any contractual obligation for “property damage”

 NAB is alleged to owe any third-party, including Owners and any other third-party, is excluded

 under the PCIC Policies.

                   DECLARATORY JUDGMENT – COUNT TWELVE
              (Common Exclusion l. – Attorney’s Fees and Expert Fees of Others)

        87.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        88.     The PCIC Policies include Common Exclusion l. – Attorney’s Fees and Expert

 Fees of Others.     Pursuant to this exclusion, any claim, suit, demand, request or award of

 attorneys’ fees, expert fees, etc., of others are not covered under the PCIC Policies.

        89.     The Complaint in the Underlying Action requests attorney’s fees and expert fees

 as part of the demand to NAB from Owners.




                                                  23
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 24 of 27




        90.     Pursuant to the exclusion for Attorney’s Fees and Expert Fees of Others, PCIC is

 entitled to a declaration that any award against NAB for attorney’s fees and/or any other fees and

 costs as set forth in Common Exclusion l. are not covered under the PCIC Policies.

                   DECLARATORY JUDGMENT – COUNT THIRTEEN
        (Conditions 21 and 22 - Right of Reimbursement of Defense Costs and Right of
                          Reimbursement of Settlement Payments)

        91.     PCIC incorporates by reference the allegations contained in all preceding

 paragraphs as if set forth fully herein.

        92.     Sections V. 21 and 22 of the PCIC Policies, labeled Right of Reimbursement of

 Defense Costs and Right of Reimbursement of Settlement Payments, respectively, provide PCIC

 the explicit right of reimbursement for any defense costs and/or indemnity payments made by

 PCIC for claims where there is no coverage under the PCIC Policies.

        93.     Based on the allegations in the Complaint in the Underlying Action and other

 facts and information provided to PCIC, there is no coverage available under the PCIC Policies

 for NAB regarding the allegations made against NAB in the Underlying Action.

        94.     Accordingly, PCIC is entitled to a declaration that NAB and/or Country Mutual

 must reimburse PCIC for any and all defense fees and costs and/or indemnity payments made

 with regards to non-covered damages.

                                    VII. RELIEF REQUESTED

        WHEREFORE, PCIC prays for the following relief:

        1.      Declaratory Judgment – Count One (Insuring Agreements / Common Policy

 Exclusion h. – Prior Knowledge): a declaration that PCIC has no duty to defend and/or

 indemnify NAB under the 15-16, 16-17 and 17-18 PCIC Policies because any “property

                                                24
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 25 of 27




 damage”, if any, first occurred prior to the 15-16, 16-17 and 17-18 Policy periods and prior to

 these Policy periods NAB knew that the alleged “property damage” had occurred; and that

 Pursuant to the Insuring Agreements of all PCIC Policies, PCIC is entitled to a declaration that

 PCIC has no duty to indemnify NAB under the PCIC Policies for any damages that are not

 because of “property damage” caused by an “occurrence”;

        2.      Declaratory Judgment – Count Two (Coverage A. Exclusion x. – Prior Completed

 Work): a declaration that PCIC has no duty to defend or indemnify NAB under the 15-16, 16-17

 and 17-18 PCIC Policies because NAB’s work at the Home was finished prior to the inception of

 these PCIC Policies;

        3.      Declaratory Judgment – Count Three (Coverage A. Exclusion m. – Subsidence): a

 declaration that PCIC has no duty to defend or indemnify NAB under the PCIC Policies because

 the alleged damages to the Home relate to soils movement;

        4.      Declaratory Judgment – Count Four (Endorsement No. 18 – Subcontractor

 Condition): a declaration that it has no duty to defend and/or indemnify NAB under the PCIC

 Policies as to any and all work performed by subcontractors because the clear conditions

 precedent to coverage under Endorsement No. 18 – Subcontractor Condition were not met;

        5.      Declaratory Judgment – Count Five (Coverage A. Exclusion ae. – Material

 Misrepresentation / Condition: Representations and Warranties): a declaration that PCIC has no

 duty to defend or indemnify NAB under the PCIC Policies as a result of misrepresentations in

 the applications for insurance;




                                               25
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 26 of 27




        6.        Declaratory Judgment – Count Six (Other Insurance): a declaration that the PCIC

 Policies provide excess only coverage to the coverage provided to NAB by Country Mutual

 under the Country Mutual Policy;

        7.        Declaratory Judgment – Count Seven (Coverage A. Exclusions g.(5) and g.(6) –

 Damage to Property): a declaration that Exclusions g.(5) and g.(6) exclude coverage for any

 damages assessed against NAB for “property damage” because some or all such “property

 damage” occurred during the course of construction;

        8.        Declaratory Judgment – Count Eight (Coverage A. Exclusion i. – Damage to

 Your Work): a declaration that to the extent any damages are assessed against NAB for

 “property damage” relative to the work of NAB itself, such damages are not covered under the

 PCIC Policies;

        9.        Declaratory Judgment – Count Nine (Coverage A. Exclusion o. – Deleterious

 Substance): a declaration that any damages awarded against NAB for damages related to mold

 are excluded under the PCIC Policies;

        10.       Declaratory Judgment – Count Ten (Coverage A. Exclusion p. – Professional

 Services): a declaration that to the extent NAB is held liable for the work of either Gebau or

 CDS, that Coverage A. Exclusion p. – Professional Services, excludes coverage for NAB under

 the PCIC Policies;

        11.       Declaratory Judgment – Count Eleven (Common Exclusion k. – Contractual

 Liability): a declaration that any damages awarded pursuant to a breach of any contractual

 obligation for “property damage” NAB is alleged to owe any third-party, including Owners and

 any other third-party, is excluded under the PCIC Policies;

                                                 26
Case 1:21-cv-00456-NYW Document 1 Filed 02/16/21 USDC Colorado Page 27 of 27




        12.     Declaratory Judgment – Count Twelve (Common Exclusion l. – Attorney’s Fees

 and Expert Fees of Others): a declaration that any award against NAB for attorney’s fees and/or

 any other fees and costs as set forth in the exclusion are not covered under the PCIC Policies;

        13.     Declaratory Judgment – Count Thirteen (Conditions 21 and 22 – Right of

 Reimbursement of Defense Costs and Right of Reimbursement of Settlement Payments): a

 declaration that NAB and/or Country Mutual must reimburse PCIC for any and all defense fees

 and costs and/or indemnity payments made with regards to non-covered damages;

        14.     For attorneys’ fees and costs as allowed by law; and

        15.     For such other and further relief deemed just and proper.

        Respectfully submitted this 16th day of February, 2021.


                                       By: /s/ Todd E. Jaworsky
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                                                 27
